    Case 3:20-cv-00518-KMN-LT        Document 51      Filed 02/21/25   Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

GERALD BUTERBAUGH,                          :   CIVIL ACTION NO. 3:20-CV-518
                                            :
                    Petitioner              :   (Judge Neary)
                                            :
             v.                             :
                                            :
KEVIN KAUFFMAN,                             :
                                            :
                    Respondent              :

                                       ORDER

      AND NOW, this 21st day of February, 2025, upon consideration of the

petition (Doc. 1) for writ of habeas corpus, and for the reasons set forth in the

accompanying memorandum, it is hereby ORDERED that:

      1.     The Pennsylvania Attorney General’s Office is DISMISSED as a
             respondent in this action.

      2.     The petition (Doc. 1) for writ of habeas corpus is DENIED with
             prejudice.

      3.     A certificate of appealability shall not issue.

      4.     The Clerk of Court is directed to CLOSE this case.


                                         /S/ KELI M. NEARY
                                         Keli M. Neary
                                         United States District Judge
                                         Middle District of Pennsylvania
